Case 19-62535-jwc     Doc 10    Filed 09/05/19 Entered 09/05/19 09:35:15           Desc Main
                                Document      Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: September 4, 2019
                                                 _________________________________

                                                          Jeffery W. Cavender
                                                     U.S. Bankruptcy Court Judge

 ________________________________________________________________




              IN THE UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
IN RE:                         :        CHAPTER 7
      SIEGLINDE THIGPEN,       :
                               :        CASE NO. 19-62535-jwc
                               :
      Debtor.                  :

   ORDER GRANTING MOTION TO APPOINT NELLIE ALBER AS NEXT
FRIEND FOR SIEGLINDE THIGPEN AND TO EXCUSE SIEGLINDE THIGPEN
   FROM COMPLETING A CREDIT COUNSELING COURSE AND POST-
           PETITION FINANCIAL MANAGEMENT COURSE
      This matter came before the Court on Debtor’s Motion to Appoint Nellie Alber as
Next Friend for Sieglinde Thigpen (the “Debtor”) and to Excuse Sieglinde Thigpen from
Completing a Credit Counseling Course and Post-Petition Financial Management Course
(the “Motion”). The Court held a hearing on the Motion on August 29, 2019. Will Geer
appeared on behalf of the Debtor, and Neil Gordon appeared in his capacity as Chapter 7
Trustee. No party objected to the relief requested. Accordingly, for good cause shown
and based upon the testimony of Ms. Alber, it is hereby:
Case 19-62535-jwc      Doc 10    Filed 09/05/19 Entered 09/05/19 09:35:15    Desc Main
                                 Document      Page 2 of 3


       ORDERED that Nellie Alber shall be appointed “next friend” of Sieglinde
Thigpen and shall appear at Debtor’s 341 meeting and testify to the best of her ability
regarding the Debtor’s schedules and financial affairs; and it is further

       ORDERED that Debtor has been found to be both mentally and physically
incapacitated pursuant to 11 U.S.C. § 109(h)(4); therefore, she is excused from the
requirement under 11 U.S.C. § 109(h)(1) to complete a credit counseling course prior to
filing the instant case and excused from completing a post-petition financial management
course under 11 U.S.C. § 727(a)(11).

                                 -END OF DOCUMENT-

Prepared and submitted by:

/s/ Will B. Geer
Will Geer
State Bar No. 940493
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  Distribution List
Label Matrix forCase     19-62535-jwc
                  local noticing            Doc 10    Filed
                                                 ENERBANK USA 09/05/19 Entered 09/05/19 09:35:15       Desc Main
                                                                                         FIRST SOURCE ADVANTAGE LLC
113E-1                                                Document
                                                 PO BOX 26856         Page 3 of 3        205 BRYANT WOODS SOUTH
Case 19-62535-jwc                                  SALT LAKE CITY , UT 84126-0856                       AMHERST, NY 14228-3609
Northern District of Georgia
Atlanta
Wed Sep 4 07:33:27 EDT 2019
Will B. Geer                                       (p)GEORGIA DEPARTMENT OF REVENUE                     Neil C. Gordon
Wiggam & Geer, LLC                                 COMPLIANCE DIVISION                                  Arnall, Golden & Gregory, LLP
Suite 1245                                         ARCS BANKRUPTCY                                      Suite 2100
50 Hurt Plaza SE                                   1800 CENTURY BLVD NE SUITE 9100                      171 17th Street, NW
Atlanta, GA 30303-2916                             ATLANTA GA 30345-3202                                Atlanta, GA 30363-1031

Internal Revenue Service                            ONE MAIN FINANCIAL                                   Office of the United States Trustee
CIO                                                 NEW HOLLAND MARKET STE 400                           362 Richard Russell Building
P.O. Box 7346                                       STE 400                                              75 Ted Turner Drive, SW
Philadelphia, PA 19101-7346                         GAINESVILLE, GA 30501                                Atlanta, GA 30303-3315


PAY PAL CREDIT                                      PRA Receivables Management, LLC                      SYNCHRONY BANK
SIMM ASSOCIATES INC                                 PO Box 41021                                         2365 NORTHSIDE DR
800 PENCADER DR                                     Norfolk, VA 23541-1021                               STE 300
NEWARK, DE 19702-3354                                                                                    SAN DIEGO, CA 92108-2709


SYNCHRONY BANK SAMS CLUB MC                         Synchrony Bank                                       Sieglinde Keufier Thigpen
CLIENT SERVICES                                     c/o PRA Receivables Management, LLC                  514 Heathrow Way
3451 HARRY S TRUMAN BLVD                            PO Box 41021                                         Stone Mountain, GA 30087-4821
ST CHARLES, MN 63301-9816                           Norfolk, VA 23541-1021


(p)US BANK                                         United States Attorney                                Wells Fargo Signature Card
PO BOX 5229                                        Northern District of Georgia                          PO BOX 7053
CINCINNATI OH 45201-5229                           75 Ted Turner Drive SW, Suite 600                     MINNEAPOLIS, MN 55407-0053
                                                   Atlanta GA 30303-3309




                  The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                  by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                      US BANK                                              End of Label Matrix
1800 Century Boulevard                             PO BOX 790408                                        Mailable recipients      17
Suite 9100                                         ST LOUIS, MO 63179-0408                              Bypassed recipients       0
Atlanta, GA 30345-0000                                                                                  Total                    17
